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            IN THE UNITED STATES DISTRICT COURT
          FOR THE WESTERN DISTRICT OF TENNESSEE
                       EASTERN DIVISION
  _____________________________________________________________

  UNITED STATES OF AMERICA,
           PLAINTIFF.

  v.                                                 NO. 17-10105- STA

  DANIEL RANGER,
            DEFENDANT.
  _____________________________________________________________

  ORDER CONTINUING SENTENCING HEARING AND NOTICE OF
                           RESETTING
  _____________________________________________________________

        Upon motion of Defendant, through counsel Juni S. Ganguli, this

  matter is continued to May 31, 2019 at 10 AM for sentencing.

        It is so ordered this 9th day of May 2019.




                                         s/S. Thomas Anderson
                                         S. Thomas Anderson
                                         Chief U.S. District Judge
